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                      UNITED STATES DISTRICT COURT       November 20, 2019
                     EASTERN DISTRICT OF CALIFORNIA       CLERK, US DSITRICT COURT
                                                                      EASTERN DISTRICT OF
                                                                          CALIFORNIA


UNITED STATES OF AMERICA,                    Case No. 2:15-cr-00204-TLN

                Plaintiff,

      v.                                            ORDER FOR RELEASE OF
                                                     PERSON IN CUSTODY
CHRISTOPHER M. GRADY,

                Defendant.

TO:   UNITED STATES MARSHAL:

      This is to authorize and direct you to release CHRISTOPHER M. GRADY ,

Case No. 2:15-cr-00204-TLN Charge 18 USC § 3583 , from custody for the

following reasons:

                X     Release on Personal Recognizance

                      Bail Posted in the Sum of $

                             Unsecured Appearance Bond $

                             Appearance Bond with 10% Deposit

                             Appearance Bond with Surety

                             Corporate Surety Bail Bond

                             (Other): Under all the previously imposed terms and
                             conditions, with the additional condition of the

                         X   defendant shall not have contact directly or indirectly

                             with the confidential victim listed in Modesto Police

                             Report Number MP19030825

      Issued at Sacramento, California on November 20, 2019 at 8:22 a.m.

                                   By:   /s/ Carolyn K. Delaney

                                         Magistrate Judge Carolyn K. Delaney
